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                  127,&(2)FORM FOR APPEARANCE 6HH)LIWK&LU5XOH
Only attorneys admitted to the Bar of this Court PD\ practice before the Court. Each attorney representing a
party must complete a separate form. (COMPLETE ENTIRE FORM).
                              )LIWK&LU&DVHNO.          23-10362
Alliance Hippocratic Medicine, et al.                                       vs.   U.S. Food & Drug Administration, et al.
(6KRUW7LWOH)
The Clerk will enter my appearance as Counsel for                  Leukemia & Lymphoma Society and additional

 amici listed in attachment

______________________________________________________________________________________________________________
(Please list names of all parties represented, attach additional pages if necessary.)
The party(s) I represent IN THIS COURT                   Petitioner(s)           Respondent(s) ✔ Amicus Curiae
                                         Appellant(s)                  Appellee(s)                              Intervenor

   ✔ I certify that the contact information below is current and identical to that listed in my Appellate Filer
Account with PACER.
  /s/ Emily I. Gerry                                                              egerry@akingump.com
(Signature)                                                                       (e-mail address)

 Emily I. Gerry                                                                   DC 1743489
(Type or print name)                                                              (State/Bar No.)


(Title, if any)

 Akin Gump Strauss Hauer & Feld LLP
 @@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@@
(Firm or Organization)
Address                  Robert S. Strauss Tower, 2001 K Street, N.W.

City & State Washington,             D.C.                                                              Zip 20006-1037

Primary Tel._ 202.887.4169                     Cell Phone:     410.707.1046
NOTE: When more than one attorney represents a single party or group of parties, counsel should designate a lead counsel. In
the event the court determines oral argument is necessary, lead counsel only will receive via e-mail a copy of the court's docket
and acknowledgment form. 2ther counsel PXVWPonitor the court's website for the posting of oral argument calendars.
Name of Lead Counsel: Emily
                          BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                I. Gerry
A. Name of any Circuit Judge of the Fifth Circuit who participated in this case in the district or bankruptcy court.
 Hon. Matthew Joseph Kacsmaryk
B. Inquiry of Counsel. To your knowledge:
           (1) Is there any case now pending in this court, which involves the same, substantially the same, similar or related isssue(s)?
                                        Yes                           No
                                                                  ✔
           (2) Is there any such case now pending in a District Court (i) within this Circuit, or (ii) in a Federal Administrative Agency which
           would likely be appealed to the Fifth Circuit?
                                         Yes                          No
                                                                  ✔
           (3) Is there any case such as (1) or (2) in which judgment or order has been entered and the case is on its way to this Court by appeal,
           petition to enforce, review, deny?
                                          Yes
                                                                  ✔    No

         (4) Does this case qualify for calendaring priority under 5th Cir. R. 47.7? If so, cite the type of case
                                                                                                                    Yes, preliminary injunction
If answer to (1), or (2), or (3), is yes, please give detailed information. Number and Style of Related Case




Name of Court or Agency

Status of Appeal (if any)_
Other Status (if not appealed)
NOTE: Attach sheet to give further details.                                                                           DKT-5A REVISED -DQXDU\
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 No. 23-10362, Alliance for Hippocratic Medicine, et al. v. U.S. Food and Drug
                             Administration, et al.

    ADDITIONAL AMICI REPRESENTED BY AKIN GUMP STRAUSS
                     HAUER & FELD LLP
The Leukemia & Lymphoma Society
American Cancer Society
American Cancer Society Cancer Action Network
American Childhood Cancer Organization
American Society of Clinical Oncology
American Society of Hematology
American Urological Association
Arthritis Foundation
CancerCare
Cancer Support Community
Council of Medical Specialty Societies
Epilepsy Foundation
Friends of Cancer Research
Hemophilia Federation of America
Muscular Dystrophy Association
National Patient Advocate Foundation
National Multiple Sclerosis Society
National Organization for Rare Disorders
RESOLVE: The National Infertility Association
WomenHeart: The National Coalition for Women with Heart Disease
